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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(SOUTHERN DIVISION)

UNITED STATES OF AMERICA, :

ex rel. ROBERT SIMMONS, Civil Action No.

Plaintiff,
FILED UNDER SEAL
Vv. : Pursuant to 31 U.S.C. Section
3729
SAMSUNG ELECTRONICS
AMERICA, INC. 3
and :
SUMMIT GOVERNMENT
GROUP, LLC, :
Defendants.
COMPLAINT

Plaintiff and qui tam relator, Robert Simmons, through his

attorneys, for his Complaint against Defendants, alleges as
follows:
INTRODUCTION
1. This is an action to recover damages and civil penalties

on behalf of the United States arising from the false claims and

statements made by Samsung Electronics America, Inc. (“Samsung”)

and Summit Government Group, LLC (“Summit”) (collectively

referred to as “the Defendants”) to the United States Government,

in violation of the Federal False Claims Act (“the FCA”), 31

U.S.C. Section 3729 et. seq. as amended.

 
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business in this District, and entered into the MAS Contract with
GSA in Rockville, Maryland, which is within this judicial
district. This court further has personal jurisdiction over
Samsung because it transacts business, and has committed acts in
violation of 31 U.S.C. Section 3729, in this district.

6. Venue is proper in this district pursuant to 31 U.S.C.
Section 3732(a) because Summit has its principal place of
business in this district and the contract with GSA was signed
and overseen in Rockville, Maryland, which is within this
Jurisdiction.

THE PARTIES

7. Plaintiff-Relator Robert Simmons is a former employee of

Mr. Simmons is a resident of

Samsung, in Lexington, Ky.

Kentucky. Mr. Simmons joined Samsung in June 2007 as a Solutions

Architect and served in this position until July 2011, with
responsibility for all enterprise business division solutions
Mr. 2011.

architecture. Simmons left Samsung’s employ in July,

In his capacity at Samsung, Mr. Simmons gained direct and
independent knowledge of the allegations contained in this
Complaint. Before filing this Complaint, Mr. Simmons made a
disclosure of all material evidence and information in his
possession to the Government, as required by 31 U.S.C. Section
3730(b) (2).

8. Samsung is a New York corporation with its principal

 
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place of business at 85 Challenger Road, Ridgefield Park, NJ
08660. Samsung is a wholly owned subsidiary of Samsung

Electronics Co, LTD, a South Korean company with its headquarters

in Samsung Town, Seoul, South Korea.

Samsung is a global leader
in the manufacture of consumer electronics, including, as

relevant here, computer monitors, printers and accessories.

9. Summit has its principal place of business at 15850
Crabbs Branch Way, Rockville, Md. 20855. Summit Government Group
LLC is a limited liability corporation organized under the laws
of Maryland. Summit holds a GSA MAS Schedule 70 contract to
supply information technology, including computer equipment and

supplies, to agencies of the federal government. The contact has

a 10 year term, and will expire on September 22, 2015. The
negotiation and execution of its contract with GSA took place
primarily in Rockville, Maryland.

LEGAL BACKGROUND

10. The Trade Agreements Act was enacted by Congress on

July 26 1976 as part of Public Law 96-39, 93 Stat. 144, codified

at 19 U.S.C. Sections 2501 et seq. The TAA governs trade
agreements negotiated between the United States and other
countries under the Trade Act of 1974. The TAA was passed in
order to approve and implement trade agreements negotiated under
the Trade Act of 1974, which was enacted to foster the growth and

maintenance of an open world trading system; to expand

 
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opportunities for the commerce of the United States in
international trade; to improve the rules of international trade;
and to provide for the enforcement of these rules. The TAA
requires that all goods sold to the United States must be
manufactured in the United States or a TAA designated country.
See 19 U.S.C. Section 2512 (a) (1) (A) (I).

11. Under the TAA, procurement of goods and services for
federal contracts can be restricted to TAA countries, if the
program management office involved in the procurement for the
government decides to require TAA compliance. Federal

Acquisition Regulations (“FAR”) subpart 25.4 includes guidance

for TAA compliance. In general, a product is TAA compliant if it
is made in the United States or a “Designated Country.”
Designated countries include those with a free trade agreement
with the United States, including Canada, Mexico, Australia,
Singapore and other countries; countries that participate in the
World Trade Organization Government Procurement Agreement,
including Japan and many countries in Europe; several “least
developed countries,” including Afghanistan, Bangladesh, Laos,
Ethiopia and others; and Caribbean Basin countries such as Aruba,
Haiti and others.

Costa Rica, A full list of the Designated

Countries Appears in FAR 25.003. The People’s Republic of China
is not on the list of TAA designated countries.

12. The General Services Administration (“GSA”) administers

 
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the Federal Supply Schedule (“FSS”) also known as the Multiple
Award Schedule (“MAS”). The FSS program provides Federal
Agencies with a simplified process for obtaining commercial
supplies and services at prices associated with volume buying.
With established contractor relationships through the FSS or MAS
program, federal agencies can order the latest technology and
quality goods and services conveniently, at most-favored prices.
Because the FSS or MAS establishes contractor relationships with
a broad variety of commercial sellers, the GSA MAS offers shorter
procurement lead-time, lower administrative costs and reduced
inventories for federal agencies. The procedures used to
purchase goods and services on the MAS vary based upon the dollar
amount of the procurement and whether or not a Statement of Work
is required.

13. The TAA applies to any procurement that exceeds
$193,000. GSA applies the threshold on a schedule wide basis,
and therefor the TAA applies to all schedule contracts and all
orders under those contracts,

with some exceptions for small

business entities, not applicable here. All schedule products

and services must, therefore, come from the United States or a
designated country.
FACTUAL ALLEGATIONS
14. Since approximately 2000, Summit and Samsung have been

parties to a “Sales Representation and Business Development

 
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Agreement.” Under this Agreement, Samsung appointed Summit “its

exclusive marketing representative for its Products” to the GSA.
The Agreement between Samsung and Summit provides that Summit
“shall solicit orders for [Samsung] products” from
the [GSA] Accounts in accordance with the terms of this
Agreement.” The contract further provides that “[a]1l sales
shall be at prices and upon terms established by Manufacturer and
manufacturer shall have the right, to establish, change, alter or
amend prices and other terms and conditions of sale.”

15. The Agreement between Samsung and Summit makes Summit
Samsung’s agent with respect to sales on the GSA MAS Schedule 70
contract held by Summit.

As noted, the GSA MAS Contract that

Summit holds is part of Schedule 70, the GSA MAS Schedule that
covers Information Technology products. Over a quarter of
federal government IT purchases are made through this schedule.
Summit does not manufacture any IT products, nor does it offer IT
in fact,

services, Summit does not generally sell directly to the

United States, with a few exceptions. Instead, Summit enters into
agreements with manufacturers like Samsung, who allow Summit to
offer their products for sale to the federal government through
Summit’s resellers, Hewlett Packard, Dell,

CDWG, Telos, NCS,

Intelligent Decisions, Emtec, GTSI and GovConnection.

16. As the holder of a GSA MAS contract, Summit is legally

obligated to fulfill all of the requirements of that contract,

 
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including best price obligations, reporting and payment of
Industrial Funding Fees to the United States and compliance with
the applicable TAA requirements, based upon information obtained
from Samsung. Summit is thus obligated to insure that products,
including Samsung products, sold under its contract with GSA are
TAA compliant. In fulfilling its obligations under the GSA
contract to insure that all products are TAA compliant, Summit
relies upon representations from Samsung about the Country of
Origin (*COO”)

of its products. Samsung is independently

responsible for assuring that its agent, Summit, provides correct
information to the United States about the Samsung products it
sells, including accurate information about COO and pricing.

17. Over the past six years Samsung has sold products to
the federal government through Summit and its resellers that were
not TAA compliant. The fact that Samsung’s products are not TAA
compliant has repeatedly been brought to both Samsung's and
Summit’s attention by outside consultants and Samsung employees.
For example, in or about May,

2011, Samsung was notified by an

outside consultant with Channel Stars, a value added reseller

marketing organization, that there were serious issues with

Summit's GSA price list regarding the Country of Origin of

Samsung products. On May 19, 2011, Sean Windham Burke, a Channel

Stars employee, wrote to Elizabeth Shields, a Samsung employee

who is part of the Samsung North American Headquarter Strategy &

 
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Corporate Communications Team, and Alex Sebens, Samsung’s Federal

Contract Manager, advising them to “please consider removing your
alignment with Summit managing your FSA contract and remove their

letter of supply for your technology. There are so many errors

and issues with the contract that Samsung is liable for, and can

jeopardize your ability to do business with the government.”

18. Mr. Burke went on to “highlight a couple of examples.”

The “examples” included “Summits [sic] contract is

misrepresenting the country of origin Pretty sure the
Samsung Printer [the SCX-5835 FN/XAR 35 PPM] is not made in the
Slovak Republic. In fact, the Summit Samsung GSA Price
List states that this printer is made in South Korea, not the

Slovak Republic; Mr. Burke was mistaken as to the COO listed on
that document but correct that an error in the COO had occurred,
as Samsung’s internal documents show that this printer is
actually manufactured in China. Mr. Burke’s email mentions
another Samsung printer, the CLP-770ND 33 PPM, noting that the
Summit price list contained the same “Country of origin error.”
In fact, Samsung’s internal documents show that this second
printer is also manufactured in China.
19. In apparent response to Mr. Burke’s email of May 19,

2011, Peter Richardson, the Senior Manager of Printer Marketing

for Samsung, sent an email to Michael Bahniuk and Ed Somers of

Summit on July 19, 2011 asking them if they had “the CLP-770ND on

 
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your GSA price lists?” Mr. Richardson went on to instruct Summit

that “[i]f so, it needs to be removed immediately Please

confirm ASAP.” Despite this direction from Samsung, as of

October 1, 2011, that non-TAA complaint item still appeared on

Summit’s GSA price list.
20. Samsung and Summit knowingly offered other TAA non-
compliant products to the United States for sale through the GSA

schedule. On April 27, 2011 Melissa Taylor, an employee of

Samsung's distributor, Ingram Micro, sent an urgent email to a

number of Samsung employees, including D.J. Yeo, Samsung’s

Assistant Manager for Product Allocations and Forecasts, asking

whether the CLX-S6250-TAA model [a paper tray listed on Summit’s

GSA price list], was, in fact, TAA compliant and noting that

“[t]his is urgent [as] we have an order pending that needs the

TAA model. The order is being held up until we get this answer.

Please advise.” Mr. Yeo responded to this email within Samsung,

saying, “{t]here is no plan to produce this SKU [the TAA

compliant model] this year. I do not believe this model has been

produced.” Despite this admission by Mr. Yeo that this item was

not TAA compliant, this paper tray continued to appear on

Summit's GSA price list as of October 1, 2011.

21. Similarly, a Samsung Paper Tray Model SCX-S6555A, is

listed on the Summit GSA price list as being made in Korea. This

paper tray has, in fact, always been manufactured in China and

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was never been manufactured in Korea. A Samsung toner product,

with Product No. CLX-6250FX was, prior to January 1, 2011,

manufactured in two locations China and Korea, but from that
date forward all of the toner sold under that Product Number was

manufactured in China. Toner under that Product Number is sold

to the United States by Samsung through Summit without regard to
whether it complies with the TAA, that is, without regard to

whether it was manufactured in Korea or China. Several other

Samsung toners that have been sold to the United States through
Summit’s GSA contract since 2009 are also manufactured in China
and thus do not comply with the TAA, including Product Numbers

CLX-S6250A, SCX-5835FN, and SCX-6555N. All of these toners have

been manufactured in China,

at least since January 1, 2011, but

are listed as being manufactured in South Korea on Summit’s GSA

price list. Samsung also sold non-TAA compliant printers to the

United States Department of Labor (“DOL”) through Coast to Coast,

a Samsung reseller. The printer, Product No. ML~3712ND is

manufactured in China. On August 10, 2011 two separate shipments

of 19 printers were made to DOL; an additional 15 printers were

Shipped to DOL on August 15, 2011, for a total of 53 printers

sold in violation of the TAA.
22. Mr. Sebens, Samsung’s manager for direct federal sales,

brought the TAA violations highlighted by Mr. Burke to the

attention of his supervisor,

Susan Becker, Samsung’s Director of

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Enterprise Business Development (“EBD”) in July, 2011. In

response to a July 8, 2011 email from her asking for an update on

Sebens’' weekly activities to provide to JY Lew, President of

Samsung’s EBD Division, Mr. Sebens responded that:

“the CLP-770ND was classified as made in Korea. The COO is

China and has been on Summit’s GSA Schedule. Wendy Crowe,

[Samsung’s Federal and State/Local Education Contract

Development Manager] advised Summit and Synnex to remove

from GSA. Samsung has a product gap for TAA color laser
printers. There is no TAA compliant laser printer.’
23. Mr.

Sebens subsequently attended an EBD Team Planning

Meeting in Ridgefield Park, N.J. on July 19-20, 2011. Mr. Lew

was present at that meeting, along with other Samsung managers.

Prior to Mr. Sebens’

presentation, which was scheduled for

Wednesday July 20, 2011, Ms. Becker warned him not to discuss the

TAA violations during his presentation.

24. The email from Mr. Burke referenced in Paragraphs 17

and 18, supra, also highlighted potential price reduction clause

violations, noting that the CLP~770ND printer mentioned above is

listed on Samsung.com at $899 “however Summit has the

product on their schedule at 938.87 and that “({sJince Summit is
HIRED by Samsung to manage the schedule. Samsung is liable
for the price discrepancy and both Samsung and Summit can face

fines and possible contract suspension (emphasis in original).”

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In other words, since the printer was available commercially for
a lower price than that at which Samsung and Summit offered it to
GSA, the price discrepancy made Samsung and Summit vulnerable to
action under the Price Reduction Clause. Mr.

Burke concluded by

Saying “this error is NOT isolated, (there are MANY), Samsung

could face substantial penalties and contract debarment (emphasis
in original).”
25. Mr. Burke's concern that Samsung may not have provided
the GSA with accurate price information is corroborated by
internal emails. For example, one of Summit’s resellers, Hewlett
Packard Direct, was given a lower price than that listed on
Summit’s GSA price list by Scott Sherrick, Samsung’s Director of
Pricing, when HP Direct was bidding on a Navy contracting
opportunity. In an email to Scott Sherrick, Samsung’s Sales

Director, Antonella Foster, Samsung’s Territory Sales Manager for

the West Coast, raised the issue of best pricing, saying that “I
am concerned we gave our highly discounted pricing toa
competitor to quote their own brand and win this away from us.”
(Emphasis added.) To the extent that the lower price offered
Samsung to favored resellers through Summit constitutes a
“discount” or a “rebate” Samsung and Summit may have an
obligation under the GSA MAS contract to pass this discount or
rebate along to the United States in certain circumstances.
26. On July 12, 2011,

Mr. Burke provided Alex Sebens with

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information about the potential legal risk for the Company if it
was held liable under the False Claims Act for violations of
either the TAA or the best price clause and included links to two
articles about recent Department of Justice settlements involving
Similar claims. Mr. Burke indicated in an email to Alex Sebens
that he had passed this information - about the potential fines
Ms.

and penalties - along to Elizabeth Shields. Shields relayed

this information to Kevin Gould, a Senior Corporate Counsel at
Samsung who subsequently discussed the TAA violations with Mr.
Sebens. To Mr. Seben’s knowledge, no further action was taken by
Samsung legal on this issue.

COUNT I
(Against All Defendants)
False Claims Act, 31 U.S.C. Section 3729(a) (1)
Presenting False Claims

27. Plaintiff realleges and incorporates herein by
reference paragraphs 1-26.

28. By virtue of the acts described above, Defendants
knowingly submitted, caused to be submitted and continue to
submit and to cause to be submitted false or fraudulent claims
for payment and reimbursement by the United States Government by
knowingly or recklessly making false statements about the Country
of Origin and best price on Samsung products offered for sale to

the United States Government.

29. The United States was unaware of the falsity of the

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claims and/or statements made or caused to be made by the
Defendants and in reliance on the accuracy thereof, paid for the
aforementioned false claims because the Defendants knowingly sold
products to the Government that did not originate in the United
States or a TAA designated country, despite falsely certifying

Defendants’ compliance with TAA provisions. The Defendants also
knowingly sold products to other commercial customers at steeper
discounts than it offered to the Government.

30. As set forth in the preceding paragraphs, Defendants
violated 31 U.S.C. Section 3729 and the United States has been

damaged thereby in an amount to be determined at trial.

COUNT II
(Against All Defendants)
False Claims Act, 31 U.S.C. Section 3729(a) (2)
Presenting False Claims

31. Plaintiff realleges and incorporates herein by
reference paragraphs 1-26.
32. By virtue of the acts described above, Defendants

knowingly made, used or caused to be made or used, and continue

to make or use or cause to be made or used, false statements to
obtain payments from the United States for false or fraudulent
claims because the Defendants falsely certified that all products

it sold and offered for sale to the united States Government

originated in the United States or designated countries as

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defined by the TAA, and Defendants certified that it truthfully
and honestly provided accurate information to the United States
regarding the country of origin of products that it was offering
for sale to the United States, when in fact the Defendants
knowingly provide false and misleading information about the Coo
of Samsung goods sold to the United States, as well as about
prices and discounts available to commercial customers.

33. The United States was unaware of the falsity of the
claims and/or statements made by the Defendants or caused to be
made by the Defendants and in reliance on the accuracy thereof,
paid for the aforementioned false claims because the Defendants
knowingly sold products to the Government that did not originate
in the United States or a TAA designated country,

despite falsely

certifying Defendants’ compliance with TAA provisions. The
Defendants also knowingly sold products to other commercial
customers at steeper discounts than it offered to the Government.
34. As set forth in the preceding paragraphs, Defendants
violated 31 U.S.C. Section 3729 and the United States has been

damaged thereby in an amount to be determined at trial.

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COUNT III
(Against All Defendants)
Conspiracy to Violate False Claims Act.

35. Plaintiff realleges and incorporates herein by

reference paragraphs 1-26.

36. By virtue of the acts described above, Defendants
entered into a conspiracy to defraud the United States by causing
false and fraudulent claims to be paid and approved in violation

of the False Claims Act, 31 U.S.C.

Section 3729(a)(1)c.

37. Defendants committed overt acts in furtherance of the
conspiracy alleged above.

38. The United States was unaware of the falsity of the
claims and/or statements made by the Defendants and their co-
conspirators, and in reliance on the accuracy thereof, paid and
continues to pay claims submitted by the Defendants.

39. As set forth in the preceding paragraphs,

Defendants

violated 31 U.S.C. Section 3729 (a) (1)c.

Respectfully submitted,

 

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